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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 TRIOPTIMA AB,

                                        Plaintiff,
                                                                  CASE NO. 2:19-cv-00390-JRG
                                v.

 QUANTILE TECHNOLOGIES LIMITED,

                                        Defendant.



                 QUANTILE TECHNOLOGIES LIMITED’S MOTION TO
                 LIMIT THE NUMBER OF ASSERTED PATENT CLAIMS

       Quantile hereby moves this Court to order to TriOptima to reduce the number of asserted

claims in accordance with the Model Order Focusing Patent Claims and Prior Art to Reduce Costs

(the “Model Order”). TriOptima has asserted 110 claims across seven different patents. Despite

conceding that it does not intend to bring over 100 claims to trial, TriOptima has steadfastly refused

to even discuss a schedule pursuant to which it will limit the number of asserted claims by specific

deadlines. As a result of this refusal, Quantile has been put in the prejudicial position of having to

expend resources analyzing claims that TriOptima never intends to bring to trial. TriOptima’s

complete refusal to even discuss the dates by which it will limit the number of asserted claims has

forced Quantile to request the Court’s intervention to alleviate the significant burdens and

uncertainty in the case. Thus, Quantile respectfully moves this Court to order TriOptima to reduce

the number of patent claims and enter the Model Order to provide the appropriate procedures.




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I.     BACKGROUND

       Despite asserting over 110 claims in this patent litigation, TriOptima has refused to discuss

an orderly reduction in the number of claims, forcing Quantile to incur the expenses and costs

associated with reviewing all 110 claims for purposes of invalidity contentions and claim

construction. Quantile has repeatedly explained that the parties and the Court are significantly

burdened by the number of claims asserted, but TriOptima refuses to even discuss a schedule for

reducing the number of claims

       By June 12, several months into discovery and after Quantile had served its initial

Invalidity Contentions, TriOptima had not given any indication that it intended to narrow the

number of asserted claims. Quantile therefore sent TriOptima a letter pointing out the

“unmanageable number of claims” and the significant burden being incurred in having to proceed

through the claim construction process and hearing with so many asserted claims. Exhibit A.

Quantile explained that the Eastern District of Texas made available the Model Order “to facilitate

the process of claim number reduction.” Quantile’s ultimate request in the letter was for a “plan

for reducing the number of asserted claims.”

       TriOptima refused this request, taking the position that it was “premature for TriOptima to

reduce the number of claims in this case,” and that it would not be willing to begin discussing any

plan until at least July 29, 2020. On June 15, 2020, the parties held a meet-and-confer, during

which Quantile again explained that the purpose of the Model Order – which is commonly entered

into in the District and in this Court – is to provide a schedule as to when the number of asserted

claims would be narrowed, not necessarily to provide for an immediate narrowing of claims.

Exhibit B. This time, TriOptima agreed to review the Model Order and respond with whether it

was willing to agree to the Model Order by the end of the week.




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       TriOptima failed to respond by the end of that week, and the parties therefore had to discuss

the issue during a June 22nd meet-and-confer with local and lead counsel. Quantile yet again

emphasized that the Model Order was intended to provide a schedule for the parties so the litigation

can proceed in an orderly fashion, and that the parties could negotiate and stipulate to the Model

Order without necessarily requiring an immediate reduction in the number of asserted claims.

Again, TriOptima refused to even discuss the Model Order, stating that it did “not agree to put

firm dates / terms around reduction of claims.” Exhibit C. TriOptima indicated that it would not

be willing to even entertain discussion of a plan until at least July 29th, despite the fact that the

Model Order contemplates being discussed and filed far earlier in the case.

       On July 9, 2020, Quantile made a final attempt to resolve the issue without Court

intervention. TriOptima continued to refuse to even discuss the Model Order. Instead of

negotiating and agreeing to dates certain by which the number of asserted claims would be reduced,

TriOptima instead demanded that any further discussion of narrowing the claims not take place for

several more weeks, and that only at that point would the parties begin to “revisit the topic, come

up with a plan, and execute that plan.” TriOptima’s refusal to agree to the Model Order creates

uncertainty and allows TriOptima to unfairly maintain claims that it has no intention of pursuing

at trial, burdening the Court and the parties. As a result, the parties are incurring significant and

unnecessary expenses in analyzing the 110 claims during the claim construction process, and Court

intervention is now necessary to prevent this unwieldy number of claims from barreling into the

claim construction hearing or beyond. The Model Order is the proper procedure proposed by the

Eastern District and adopted multiple times by this Court. See, e.g., Cellular Evolution LLC v. T-

Mobile US, Inc., No. 2:19-cv-00232-JRG, D.I. 75 (E.D. Tex. 2020); Snik LLC v. Samsung Elec.

Co. Ltd., No. 2:19-cv-387-JRG, D.I. 32 (E.D. Tex. 2020); Fractus, S.A., v. AT&T Mobility LLC,




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No. 2:18-CV-00135-JRG, D.I. 272 (E.D. Tex. 2019); BMC Software, Inc. v. Cherwell Software,

LLC and FireScope, Inc., No. 2:17-CV-00374, D.I. 51 (E.D. Tex. 2017).

II.    TRIOPTIMA SHOULD BE REQUIRED TO REDUCE THE NUMBER OF
       ASSERTED CLAIMS, AND THE MODEL ORDER PROVIDES A FAIR
       MECHANISM AND PROCEDURE FOR SUCH REDUCTION

       Courts have long recognized “the problem that arises when patentees assert a large number

of claims or accused infringers assert a large number of prior art references1 in patent litigation.”

Allergan, Inc. v. Teva Pharm. USA, No. 2:15-CV-1455-WCB, 2017 WL 373462, at *1 (E.D. Tex.

Jan. 26, 2017). To address this problem, the Eastern District of Texas created the Model Order.

The District has long since required patentees to reduce the number of asserted claims, both by

direct Order and by entering into the Model Order. See, e.g., id. (collecting cases that “have

required patentees to reduce the number of asserted claims, both before and after the issuance of

the [Model Order].”

       The Model Order was created to address the very situation presented in this case.

Moreover, the Model Order has been repeatedly entered into in the District, including over a dozen

times by this Court. No reason exists why TriOptima should refuse to negotiate and enter into the

Model Order at this time except to force Quantile to incur unreasonable litigation expenses. To

the extent that it intends to argue in favor of deviating from the Model Order, then these discussions

would best take place now to avoid any unfair prejudice to the parties. Nevertheless, TriOptima

refuses to negotiate, thereby necessitating Court intervention.




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  Limiting the number of prior art references is not at issue here, because Quantile has already
properly limited the number of asserted prior art references as described in the Model Order.


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III.   TRIOPTIMA WILL NOT SUFFER PREJUDICE IF THE MODEL ORDER IS
       ENTERED

       Courts in the Eastern District of Texas have repeatedly “affirmatively acknowledged the

district court practice of limiting asserted claims in patent cases for the purpose of manageability,

so long as the party opposing the limitation is not prejudiced.” Realtime Data, LLC v. Packeteer,

Inc., No. 6:08CV144, 2009 WL 10667516, at *1 (E.D. Tex. Mar. 16, 2009); see also Allergain,

2017 WL 373462, at *2 (“A court must exercise the authority to order a reduction in the number

of asserted claims with care not to prejudice the patentee[.]”). TriOptima will suffer no prejudice

whatsoever by entering the Model Order, and therefore the Court should enter the Model Order to

create a manageable case.

       First, the continued assertion of claims already intended to be dropped serves no purpose

other than to unfairly drive up litigation costs for Quantile. Quantile is a small start-up company.

It is improper to continue to assert claims for this purpose. Moreover, TriOptima incurs no

prejudice by entering into the Model Order, as the Model Order does not require immediate

identification of claims to be withdrawn, but rather provides a set plan for such withdrawal. Under

the Model Order, TriOptima would have over a month to review discovery and its claims before

the initial reduction in the number of claims to 32 claims, and would not be required to submit its

Final Election of Asserted Claims to narrow to sixteen claims until nearly the end of the year.

Given that claim construction is currently on-going, entering the Model Order now would provide

TriOptima a reasonable opportunity to explore the viability of its asserted claims, but also provide

guidance and certainty as to when and how the number of asserted claims will be reduced.

       Second, the dates for reducing the number of asserted claims provided for in the Model

Order are actually exceedingly reasonable given the very factors identified in the Model Order. In

this case, but for TriOptima’s refusal to negotiate the Model Order, the parties certainly should



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have discussed limits lower than those set forth in the Order. Each of the asserted patents have

identical specifications, and claim virtually the same subject matter. Only a single Quantile service

– its compression service – has been accused of infringement. But, by asserting over 100 claims,

Quantile is forced to conduct an analysis on claims terms recited in each claim, thereby driving up

the cost of the litigation. TriOptima does not need to assert 110 extremely similar claims against

a single service. By now, eight months after it filed its Complaint, TriOptima should be ready to

determine which claims best represent its infringement case. Because “limits lower than those set

forth in th[e] Model Order” would be appropriate in this case, entering the Model Order itself

cannot be prejudicial to TriOptima.

IV.    QUANTILE WILL SUFFER PREJUDICE IF THE MODEL ORDER IS NOT
       ENTERED

       In contrast, Quantile will suffer significant prejudice if the Model Order is not entered.

Quantile has already been forced to litigate this case in a foreign country in a State with which it

has no contacts, see D.I. 36.2 Since filing its Complaint on November 26, 2019, TriOptima has

increased, not decreased, the number of allegations it is making against Quantile, and has

repeatedly demanded burdensome productions from Quantile while refusing to produce the very

documents underlying its case. See D.I. 54. Without the Model Order, TriOptima will continue to

assert this unmanageable number of claims until such time as it unilaterally chooses (potentially

after the claim construction hearing or minutes before), thereby maximizing the burden against

Quantile while reducing any burden it must incur. For example, given the massive number of

asserted claims, Quantile has had to incur significant expenses during the claim construction

process reviewing each and every one of these claims. If no Model Order is entered, TriOptima



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  Quantile notes that it is not subject to personal jurisdiction in this State, and that this Response
is not intended to waive any challenge to personal jurisdiction.


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will force Quantile to continue to incur these costs until the last moment, when it may drop certain

claims, knowing all along it will not analyze the construction of any terms in such claims. The

burden on Quantile in reviewing this number of asserted claims is significant and extremely

prejudicial to Quantile. Entering into the Model Order would create certainty and guidance for the

case regarding when and how the number of asserted claims will be reduced.

V.       CONCLUSION

         TriOptima refuses to even negotiate the procedures and deadlines by which it will reduce

this number. As a result, Court intervention is required, and Quantile therefore respectfully moves

that this Court order TriOptima to limit the number of asserted claims in accordance with the

Eastern District’s Model Order.


Dated:      July 13, 2020


                                              Respectfully submitted,



                                              By: /s/ Dorothy R. Auth
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic service are being served this 13th day of July, 2020, with a copy of this document via

the Court’s CM/ECF system per Local Rules CV-5(a)(3).



                                              /s/ Dorothy R. Auth
                                              Dorothy R. Auth
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                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that prior to filing this opposed motion, it has complied

with the meet-and-confer requirement of Local Rule CV-7(h). Specifically, on June 22, 2020, the

parties conducted a conference by telephone. Counsel for Quantile on the telephone conference

were Dorothy Auth, David Cole, and Keana T. Taylor, while the counsel for TriOptima were Brent

Ray, Dara Kurlancheek, and Melissa Smith. TriOptima indicated that it would not agree to

negotiate or enter the Model Order. Discussions on this point have conclusively ended in an

impasse, leaving an open issue for the Court to resolve.



                                             /s/ Dorothy R. Auth
                                             Dorothy R. Auth
